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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION

ANTONIO HALL, SR.,

Plaintiff,
v. CASE No. 3:18-cv-01372-J-20JRK
WELLS FARGO BANK, N.A.,

Defendant.

/
Q_M_R

This matter is before this Court on the Parties’ “Joint Stipulation to Arbitrate Claims and Stay
Action” (Dkt. 10). In this Stipulation, the Parties explain that they have agreed to submit all claims of »
the above-captioned lawsuit to binding, non-judicial arbitration.

Accordingly it is ORDERED:

n l. The Parties “Joint Stipulation to Arbitrate Claims and Stay Action” (Dkt. 10) is

GRANTED;

2. The Parties are ordered to submit to arbitration;

3. The arbitration shall be conduced through the American Arbitration Association (“AAA”);

4. This case is administratively closed While the Parties are in arbitration. However, every ninety

(90) days, Plaintiff shall tile a notice to this Court on the progress of the arbitration.

DONE AND ORDERED at Jacksonville, Florida, this z/L day of January, 2019.

Copies to:
Shaughn C. Hill, Esq.
Artin Betpera, Esq.

 

